              Case 2:21-mj-00791-CG Document 12 Filed 06/15/21 Page 1 of 2



                             IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

      Plaintiff,

v.                                                                   Case   No.21MJ791 CEG

JOHNNY FRANK RODRIGUEZ,

      Defendant.


                             WAIVER OF PRELIMINARY HEARING
       AND REOUEST FOR TOLLING OF GRAND JURY PRESENTMENT

         1.        I am the defendant in this criminal proceeding.

        2.         I   understand that   I   am entitled to a preliminary hearing, but   I   agree   to waive my

 right to that hearing and I also agree to waive my right to have my case presented to a grand jury

 within thiffy (30) days of my arrest pursuant to 18 U.S.C. S 3161(b) in exchange for the following:

                       txl   Pre-indictment discovery

                       IX]   Pre-indictment plea negotiations

                       tI
                       I]
        3.      I understand that I have the right to have my case presented to a grand jury within

thirty (30) days of my arrest pursuant to 18 U.S.C. S 3161(b).

        4.         I hereby request a tolling of grand jury presentment pursuant to I 8 U.S.C.

 $ 3161(h) (7XA) for an additional period not to exceed 75 days from the date of my arrest for a

 total of 105 days. By that I mean there be a 75-day period of excludable time for the purposes of

 determining compliance with the speedy indictment provision of l8 U.S.C. $ 3161(b). I further
                Case 2:21-mj-00791-CG Document 12 Filed 06/15/21 Page 2 of 2



 request that an Order be entered providing that this time period shall be tolled and excluded from

the speedy indictment time computation pursuant to 18 U.S.C. $ 3161(h)(7XA).

           5.     If I   cannot reach an agreement with the United States Attorney's Office, I

 understand that my case      will be presented to a grand jwy at;ttater   date, consistent with this

 walver.




          I have reviewed the foregoing document in (English/Spanish) with my clien
 to the Court that he/she understands it. I further represent to the Court that I beli
 client's best interest to agree to the contents of this document.




                                                       iaz Hossain




                                                          June 11,2021
                                                  Date:
